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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

HISPANIC FEDERATION, et al.,

              Plaintiffs,

v.
                                               Case No. 4:23-cv-218-MW-MAF
CORD BYRD, etc., et al.,

              Defendants.



                            FIRST JOINT STATUS REPORT

        Pursuant to this Court’s order on June 13th, 2023 (ECF No. 44) Plaintiffs

Hispanic Federation, Poder Latinx, Verónica Herrera-Lucha, Norka Martínez, A.

Doe; Defendant Cord Byrd, in his official capacity as the Florida Secretary of State

(“Secretary”) and Defendant Ashley Moody, in her official capacity as the Florida

Attorney General (“Attorney General”) (herein collectively referred to as the

“Parties”), respectfully submit their Joint Status Report and state:

     1. On June 9, 2023, Plaintiffs filed their Motion for Preliminary Injunction (ECF

        No. 32), to which the Secretary filed his Response in Opposition (ECF No.

        60) and the Attorney General filed a Notice of Joinder (ECF No. 59) on June

        23, 2023. Plaintiffs filed a Reply in Support of Motion for Preliminary

        Injunction (ECF No. 62) on June 26, 2023.


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   2. On June 28, 2023, this Court heard argument on Plaintiffs’ motion for

      preliminary injunction.

   3. On July 3, 2023 this court granted Plaintiff’s motion for preliminary

      injunction (ECF No. 68).

   4. Plaintiffs intend to issue their First Set of Requests for Production to the

      Secretary, Attorney General, and Supervisors of Elections Defendants within

      the next several weeks.

   5. The Secretary and Attorney General intend to serve discovery requests on the

      Plaintiffs at the appropriate time.

   Respectfully submitted this 13th day of July, 2023.

                                            /s/ Julie A. Ebenstein

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                 Motion for leave to appear pro hac vice forthcoming




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